Filed 8/27/24 P. v. Rivera CA5




                  NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
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               IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                       FIFTH APPELLATE DISTRICT

 THE PEOPLE,
                                                                                             F086028
           Plaintiff and Respondent,
                                                                               (Super. Ct. No. VCF385603)
                    v.

 JORGE RIVERA, JR.,                                                                       OPINION
           Defendant and Appellant.



         APPEAL from a judgment of the Superior Court of Tulare County. Nathan G.
Leedy, Judge.
         Jeffrey S. Kross, under appointment by the Court of Appeal, for Defendant and
Appellant.
         Rob Bonta, Attorney General, Lance E. Winters, Chief Assistant Attorney General,
Michael P. Farrell, Assistant Attorney General, Eric L. Christoffersen and Sally Espinoza,
Deputy Attorneys General, for Plaintiff and Respondent.
                                                        -ooOoo-
                                   INTRODUCTION
       In 2023, a jury convicted appellant Jorge Rivera, Jr. of first degree murder (Pen.
Code, § 187, subd. (a);1 count 1). The jury found true firearm enhancement allegations,
including that appellant had personally and intentionally discharged a firearm causing
death (§ 12022.53, subds. (b), (c) &amp; (d)). The jury also convicted appellant of possessing
a firearm as a convicted felon (§ 29800, subd. (a); count 2) and possessing an assault
weapon (§ 30605, subd. (a); count 3).
       For the first degree murder, appellant was sentenced to prison for 25 years to life,
with a consecutive 25 years to life for the firearm enhancement. The court imposed
middle terms of two years, respectively, for the convictions in counts 2 and 3, which were
ordered to run concurrently to the sentence in count 1.
       Before trial, a contested hearing occurred regarding appellant’s competency. The
trial court found competency and criminal proceedings were reinstated. Appellant’s
primary claim on appeal is that the trial court erred in finding him competent. We
disagree and reject that claim. However, we agree with the parties that a clerical mistake
appears in the determinate abstract of judgment, which we will direct the trial court to
correct. We otherwise affirm.
                                    BACKGROUND
       Appellant does not challenge the validity of his conviction for first degree murder.
We briefly summarize the material facts.
I.     The Murder.
       Before this murder, appellant worked at a dairy for a little over one year. He filed
approximately three workers’ compensation claims while employed there before he
voluntarily quit. The parties agree that appellant’s relationship with the dairy was
“contentious.”

1      All future statutory references are to the Penal Code unless otherwise noted.


                                             2.
       On September 3, 2019, appellant confronted the dairy’s owner, Anthony Dragt, Sr.
Appellant was armed with a loaded firearm. Dragt ran from appellant, who chased him.
Appellant was seen firing at Dragt, who fell to the ground. Appellant went to his vehicle
parked nearby, but he then went back to where Dragt was lying on the ground and
appellant fired additional shots at him. Appellant fled in his vehicle.
       Later that same night, law enforcement conducted a traffic stop and they arrested
appellant. Multiple firearms were recovered from appellant’s vehicle. Testing confirmed
that appellant’s firearms had been used to kill Dragt. When arrested, appellant had
gunshot residue on his hands, on his shirt, and on his belt.
       Appellant shot Dragt seven times. The fatal shot was delivered to Dragt’s head,
but other shots to the torso were potentially fatal.
II.    The Expert’s Report Regarding Appellant’s Competency.
       Appellant was arraigned in this matter in September 2019. His legal counsel
declared a doubt regarding appellant’s competency to stand trial. The court suspended
criminal proceedings and it appointed a psychologist to evaluate appellant.
       In October 2019, the appointed psychologist, Stacy McLain, filed a report opining
that appellant was not competent to stand trial. Appellant had expressed to McLain that
he suffers from auditory hallucinations, but he was unsure when he first experienced this.
He claimed he hears “ ‘different voices’ and they often tell him to hurt himself.” He also
reported a history of visual hallucinations that occur “ ‘off and on.’ ” Appellant reported
to McLain that he first participated in mental health services in high school, and he was
assigned a therapist. He was unsure when he was first prescribed psychiatric
medications.
       According to McLain’s report, appellant’s auditory hallucinations were the most
distressing symptom because appellant reported that they made him frustrated and angry,
and he “ ‘can’t control it.’ ” Appellant reported that the auditory hallucinations disrupted



                                              3.
his sleep and his concentration. He described being distracted by them during his court
appearance in this matter.
III.      The Evidence at the Competency Hearing.
          In February 2020, the trial court conducted a contested competency hearing. We
summarize the material evidence.
          A.    McLain’s testimony.
          McLain has a doctorate degree in psychology. The court recognized her as an
expert.
          McLain had met with appellant for about one hour. According to McLain,
appellant had “genuine complaints” of “ ‘psychotic symptoms’ ” which were “interfering
with his ability to attend to what was going on in court and assist his attorney in his own
defense.” However, McLain opined that appellant understood the nature and purpose of
the trial proceedings. According to McLain, appellant had organized and coherent
thoughts. Appellant was able to explain the differences between attorneys, the judge and
the jury. McLain believed that appellant had been able to have an organized conversation
with her.
          McLain was aware that appellant had spent time in prison before, and she believed
he understood the criminal process. He was able to explain to her the meaning of the
charges. However, McLain was concerned that appellant did not understand the
seriousness of his current charges and appellant believed the charges “would somehow go
away.”
          McLain found that appellant suffered from an “ ‘unspecified psychosis.’ ” She
could not provide a more precise diagnosis because she did not have the required
evidence of symptoms over a six-month period. She noted to the court that she was
unable to review any medical records. McLain agreed in court that her main concern
involved appellant’s self-described hallucinations. She was also concerned about


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appellant “ ‘responding to internal stimuli.’ ” She believed that appellant’s “internal
stimuli” affected his conversation with her, but she noted she had been able to
compensate for that as a trained psychologist when speaking with appellant, who was
“generally on topic and engaged.”
       Appellant reported to McLain that he was prescribed Zyprexa, which is an
antipsychotic. At the time of their meeting, appellant had been taking Zyprexa for one or
two weeks.
       McLain opined that appellant’s psychotic symptoms had impacted his experience
in the courtroom. Appellant had indicated to her that his psychotic features were
insufficiently controlled with his medication at that time. McLain opined that, if
appellant’s medications were adjusted, those symptoms interfering with his ability to
participate in his defense would improve.
       McLain did not believe appellant was malingering. She believed appellant was
benefiting from Zyprexa and she opined that an increase in its dosage would likely
resolve appellant’s remaining barriers to competency. She had encouraged appellant to
discuss the dosage issue with his medical provider, and he had agreed to do so.
       B.     The defense’s other witness.
       In addition to McLain, the defense called to testify one of appellant’s former work
colleagues. The colleague had worked with appellant at the dairy for a couple of weeks.
According to the colleague, appellant was “not right in the head.” The colleague had
seen appellant “talking to himself sometimes.”
       C.     The prosecution’s evidence.
       The prosecutor did not elicit any expert testimony to rebut McLain’s opinion that
appellant was not competent to stand trial. Instead, the prosecutor called lay witnesses
who had observed appellant on a daily basis.




                                             5.
              1.     Dragt’s son.
       Dragt’s adult son testified that appellant had worked at the dairy for about eight
months. Appellant had no work-related issues. The son never saw appellant talking to
himself, and there were no concerns that appellant was ever hearing voices. While
working at the dairy, appellant had filed workers’ compensation claims.
              2.     The correctional deputies.
       The prosecutor called four correctional deputies to testify. The deputies had all
spent time interacting with appellant while he was in jail custody in this matter.
       Three of the officers saw appellant about every 30 minutes during their respective
shifts. They would see him about 24 times during a typical 12-hour shift. None of the
officers ever saw appellant act strangely. Appellant never acted like he was having
auditory or visual hallucinations. All three officers testified that they had previously
encountered inmates who suffered from hallucinations, but appellant did not exhibit such
behavior. None of the officers ever felt the need to refer appellant for a psychological
evaluation.
       The fourth deputy had contact with appellant on September 3, 2019. She went
over a mental health questionnaire with appellant. Appellant was very friendly and
talkative with this deputy, and he seemed to understand the questions. Appellant
answered everything appropriately. During this interview, appellant denied having any
mental health issues. He denied having any depression or being bipolar. He denied
taking any medication. The deputy talked with appellant for about 90 to 100 minutes.
During that time, appellant never appeared to be suffering visual or auditory
hallucinations.




                                             6.
              3.     The recorded jail calls.
       The prosecutor introduced into evidence two recorded jail calls, which occurred on
October 26 and 27, 2019. In those calls, appellant spoke with various members of his
family. At no time did appellant appear confused.
       In one call, appellant encouraged his younger sister to keep up her grades to get
into college, and to get a scholarship. Appellant encouraged her to get into clubs and
sports to build up her resume for college. Later in that same call, appellant discussed
with his mother her refinancing of her vehicle loan. Appellant suggested that she should
get a multi-car discount through her insurance company.
       In the other call, appellant discussed the remaining balance ($1.62) on his account
in jail. He stated that, because his account was so low, he had received two free stamps.
During this call, appellant directed family members to not put money on his books that
night so he could get two more free stamps. Appellant also said he wanted to use a P.O.
Box to write letters because he did not want people to know his street address.
IV.    The Court’s Competency Ruling.
       After hearing the evidence and the arguments from counsel, the court orally issued
its ruling. The court stated its belief that McLain had been a good witness, and the court
noted that McLain’s “major concern” was appellant’s hallucinations. The court also
noted that McLain believed appellant’s hallucinations could probably be controlled by an
increase in dose of Zyprexa.
       Although the court generally liked McLain as a witness, it nevertheless stated that
her ultimate opinion “was very limited.” The court noted that McLain did not have all of
the information, such as a mental health history. According to the court, it did not appear
that a mental health history existed for appellant, which the court found significant.
       The court noted that McLain’s diagnosis of incompetency was based almost
exclusively on appellant’s self-reported statements and actions. The court ruled that, in



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light of the prosecution’s evidence, the defense had not overcome the presumption that
appellant was competent to stand trial. The court reinstated criminal proceedings.
V.     The Additional Competency Concerns Raised Below.
       The trial court found appellant competent to stand trial in February 2020. In
November that year, appellant’s trial counsel filed a memorandum declaring a renewed
intent to raise doubt regarding appellant’s competency to stand trial. The People filed an
opposition to appellant’s request to suspend criminal proceedings.
       On November 30, 2020, the court denied without prejudice appellant’s request to
suspend criminal proceedings. The court found that appellant had not presented any
evidence of changed circumstances supporting his motion.
       On October 21, 2022, the trial court reconsidered appellant’s competency after his
defense counsel again raised that issue. The court again found no substantial change in
circumstances to justify suspending the criminal action. That same day, appellant entered
an additional plea of not guilty by reason of insanity (NGI), to go along with his previous
not guilty plea. The court appointed doctors for a sanity evaluation.
       On January 27, 2023, appellant withdrew his NGI plea and he proceeded to trial
solely on his plea of not guilty.
                                      DISCUSSION
I.     Substantial Evidence Supports the Trial Court’s Ruling.
       Appellant argues the trial court erred in finding him competent to stand trial and
reinstating the criminal proceedings. According to appellant, McLain’s expert opinion—
which went unrefuted by another expert—was sufficient for the court to find him
incompetent. Appellant asks us to remand this matter for further proceedings.
       We reject appellant’s arguments. Substantial evidence supports the ruling that
appellant was competent to stand trial. The trial court did not err in declining to follow
McLain’s opinion.


                                             8.
       Both California law and the federal due process clause prohibit the state from
trying a defendant who is mentally incompetent. (§ 1367; Pate v. Robinson (1966) 383
U.S. 375, 378.) However, a criminal defendant is presumed competent to stand trial.
(People v. Blacksher (2011) 52 Cal.4th 769, 797.) The defendant bears the burden by a
preponderance of the evidence to establish his or her own incompetency. (Ibid.)
       Under California law, a defendant is mentally incompetent “if, as a result of a
mental health disorder or developmental disability, the defendant is unable to understand
the nature of the criminal proceedings or to assist counsel in the conduct of a defense in a
rational manner.” (§ 1367, subd. (a).) When a question is raised regarding competency,
section 1368 requires the defendant to receive “a hearing” to resolve that issue. (§ 1368,
subd. (b).) “The court shall appoint a psychiatrist or licensed psychologist, and any other
expert the court may deem appropriate, to examine the defendant.” (§ 1369, subd.
(a)(1).)
       On appeal, a reviewing court determines whether substantial evidence, viewed in
the light most favorable to the verdict, supports the trial court’s finding that a defendant
was competent to stand trial. (People v. Lawley (2002) 27 Cal.4th 102, 131.) “Evidence
is substantial if it is reasonable, credible and of solid value.” (People v. Marshall (1997)
15 Cal.4th 1, 31.)
       We agree with respondent that substantial evidence supports the trial court’s ruling
that appellant was competent to stand trial. In general, much of what appellant reported
to McLain showed his competency. He understood the judicial process and the roles of
the participants. He understood the nature of the charges and that he faced incarceration.
He generally had organized and coherent thoughts.
       Dragt’s son testified that, when appellant worked at the diary, the employer never
had any issues with him. However, there was a conflict in the evidence regarding
whether appellant was seen speaking to himself while working at the dairy. Dragt’s son



                                              9.
denied seeing such behavior while appellant’s work colleague reported such behavior. It
is apparent that the trial court resolved that issue against the defense, and we will not
second-guess how the court viewed such evidence. (See People v. Mendoza (2016) 62
Cal.4th 856, 883 [it is not the appellate court’s role to reweigh evidence].)
       Four correctional deputies spent time with appellant. Three of the deputies saw
appellant about 24 times a day, or about every 30 minutes during a 12-hour shift. None
of the deputies ever saw appellant acting strangely, hallucinating, or talking to himself.
Appellant had no trouble communicating with the deputies. He was able to follow
directions and he was never a disciplinary problem. No deputy ever felt the need to refer
appellant for a psychological evaluation. These three deputies had previously
encountered inmates who were hallucinating or talking to themselves. None of the
deputies ever saw similar concerns with appellant.
       The fourth deputy spoke with appellant on September 3, 2019. They spoke for at
least 90 minutes as they went over a mental health questionnaire. Appellant answered
questions appropriately and he denied any mental health problems. During their lengthy
conversation, appellant never appeared to be suffering from hallucinations or hearing
voices.
       The court heard two recorded jail calls in which appellant interacted with various
family members. At no time did appellant seem confused or that he was hearing voices.
During one call, appellant gave advice to his younger sister to keep up her grades to get
into college. He encouraged her to get into clubs and sports to build up her resume for
college. At no time during the two recorded calls did appellant complain of any mental
health issues. Based on a representation of facts from the recorded jail call, McLain
noted during her testimony that appellant’s advice to his sister about engaging in
activities that would aid her ability to obtain an academic scholarship could show “higher
order thinking.”



                                             10.
       We reject appellant’s assertion that the trial court was obligated to adopt McLain’s
expert conclusion that appellant was incompetent to stand trial. The court was free to
decide for itself what weight, if any, should be given to McLain’s opinions. (People v.
Lawley, supra, 27 Cal.4th at p. 132; People v. Jones (1990) 51 Cal.3d 294, 314 [it is the
exclusive province of the finder of fact to determine witness credibility and the truth or
falsity of the facts]; Ventura County Flood Control Dist. v. Security First Nat.
Bank (1971) 15 Cal.App.3d 996, 1003 [“the trier of fact is exclusive judge of the weight
to be given to expert testimony”].)
       The court stated it believed McLain had been a good witness. However, the court
was concerned that McLain had based her conclusion largely on appellant’s self-reported
symptoms. The court observed that McLain “did not have all the information. She had
no mental health history. And there does not appear to be any, which is significant to the
Court.” The court concluded that McLain’s opinion “was limited.” The court ruled that,
given the evidence presented by the prosecution, appellant had failed to overcome the
presumption of competency.
       This record supports the trial court’s concerns regarding the limited information
supporting McLain’s opinion. McLain admitted in court that she did not have all of the
information. Indeed, during cross-examination, McLain admitted that she was unaware
about the jail recordings in this case, which she had not reviewed. She was also unaware
of the police reports. She did not have access to appellant’s mental health records from
the jail. McLain was not aware that appellant had previously filed the workers’
compensation claims against the dairy.
       The court considered McLain’s testimony and it weighed the circumstances
surrounding her expert conclusions. The court correctly observed that no medical records
supported appellant’s self-serving claims. The court heard from four prosecution
witnesses who had interacted with appellant on a daily basis. From the People’s



                                            11.
evidence, the court was free to conclude that appellant had not exhibited auditory or
visual hallucinations. As such, the court had ample grounds to make credibility findings
adverse to the defense, and we will neither reweigh the evidence nor reevaluate witness
credibility on appeal. (See People v. Jones, supra, 51 Cal.3d at p. 314 [it is the finder of
fact who judges witness credibility and the truth or falsity of the facts].) Because McLain
based her expert opinion largely on appellant’s self-reported hallucinations, the court was
justified in declining to adopt McLain’s ultimate opinion. The court acted well within its
discretionary authority regarding how to evaluate the evidence.
       Based on this record, appellant failed to meet his burden of proof to overcome the
presumption he was competent to stand trial. The trial court had ample evidence from
which it could reject McLain’s expert conclusion, and substantial evidence supports the
court’s ruling. This evidence was reasonable, credible and of solid value. Consequently,
the trial court did not err and the present claim fails.
II.    We Direct the Trial Court to Amend the Determinate Abstract of Judgment.
       The parties agree, as do we, that the determinate abstract of judgment has a
clerical error. In counts 2 and 3, the trial court imposed middle terms of two years,
respectively, which were ordered to run concurrently to the indeterminate sentence
imposed in count 1. The determinate abstract of judgment only reflects that count 3 runs
concurrently.
       When a discrepancy exists between a trial court’s oral pronouncement of judgment
and the abstract of judgment, the oral pronouncement controls. (People v. Mitchell
(2001) 26 Cal.4th 181, 185.) An appellate court may order correction of a clerical error
regarding the judgment. (Ibid.)
       We direct the trial court to amend the determinate abstract of judgment to reflect
that the sentences in count 2 and count 3 are both concurrent to the sentence imposed in
count 1.



                                              12.
                                     DISPOSITION
       The trial court is directed to have the determinate abstract of judgment amended to
reflect that the sentences in counts 2 and 3 are concurrent to the sentence imposed in
count 1. The court shall forward an amended abstract to the appropriate authorities. The
judgment is otherwise affirmed.

                                                                                  LEVY, J.
WE CONCUR:



HILL, P. J.



POOCHIGIAN, J.




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